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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    Southern Division

UNITED STATES OF AMERICA                          *

         v.                                       *   CRIMINAL CASE NO. JFM-90-0135

NAMOND WILLIAMS,                                  *       (Civil Case No.: PWG-18-1344)1

         Defendant.                               *

                                                  *
*        *       *      *      *       *      *       *      *      *      *      *       *   *

                            MEMORANDUM OPINION AND ORDER

         Following Amendment 782 to the United States Sentencing Guidelines (“U.S.S.G.” or

“Guidelines”) in 2014, the Federal Public Defender’s Office and the Government filed a Consent

Motion Seeking Reduced Sentences Under 18 U.S.C. § 3582(c)(2) Based on Retroactive

Application of Amendment 782 to the U.S. Sentencing Guidelines (“Drugs Minus Two”). ECF

No. 1269-2. As a result, Namond Williams’s 1992 sentence was reduced on June 17, 2015 from

600 months to 484 months, as requested. Order Reducing Sentence, ECF No. 1231. At the time,

Williams also had retained counsel who told him that “all they could do was ‘monitor the

situation’” while the Public Defender and the Government negotiated Amendment 782

reductions. Def.’s Mot 5 (quoting Jan. 6, 2015 Ltr. from Counsel, ECF No. 1268-3). Williams’s

reduced sentence unfortunately was based on a misunderstanding of his original Guidelines

offense level, which the Federal Public Defender’s Office and the Government misstated in

recommending the 484-month sentence, and a consequential erroneous belief that his original

sentence was a significant upward departure from the Guidelines range. Had the Court received


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    The ECF Numbers cited herein refer to the documents filed in Defendant’s criminal case.
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accurate information, it would have been informed that Williams’s original sentence fell within

the Guidelines range applicable at the time, and that his new Guidelines range was 272 to 365

months.

       On December 15, 2015, Williams, through retained counsel, filed a Motion to Correct

Order Granting Sentence Reduction pursuant to § 3582, ECF No. 1234, and a Motion for Leave

to File Untimely Notice of Appeal, ECF No. 1235, both times alerting the Court to the

misunderstanding and seeking a further reduction in his sentence. The Court denied the second

§ 3582 motion as successive and untimely, ECF Nos. 1244, 1245, but granted the Motion for

Leave to File Untimely Notice of Appeal, ECF No. 1236. Williams filed his appeal on June 17,

2016, ECF No. 1247, and the Fourth Circuit affirmed both this Court’s Order Reducing Sentence

and its denial of Williams’s second § 3582 motion on February 9, 2017, ECF No. 1252.

Notably, he did not base his appeal on the misunderstanding that now is central to his Motion.

Williams filed the pending Motion to Vacate, Correct, or Set Aside Sentence “pursuant to 28

U.S.C. § 2255, Federal Rule of Civil Procedure 60(b), or any other applicable statute or rule” on

May 4, 2018. ECF No. 1268.

       Preliminarily, I note that, notwithstanding the unavoidable outcome of this Motion—

which is yet another denial of Williams’s request to reduce his sentence—it is disturbing that

everyone seems to agree that the Public Defender, the Government, and the Court in its reliance

on counsel’s recommendations, made an incorrect calculation, resulting in Williams serving a

sentence ten years longer than it otherwise may have been. Williams’s motion is properly

construed as a § 3582 motion, but he cannot file a successive § 3582 motion. Although the bar

to successive § 3582 motions is not jurisdictional, if the Government raises the successiveness as

a defense (which it did here), then the motion must be denied. Additionally, the court cannot




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grant a Rule 60(b) motion for reconsideration of the Order Reducing Sentence, which is an order

on a § 3582 motion.

       Perhaps this is why Williams styled his motion primarily as a § 2255 motion. But, this

Court lacks jurisdiction to decide the motion as a § 2255 motion, because it is successive.

Further, as a § 2255 motion, it is untimely and while there certainly are extraordinary

circumstances where the Federal Public Defender’s Officer intervened (and erred) while

Williams had retained counsel, there is no basis for equitable tolling because the considerable

delay between the Fourth Circuit’s ruling in February 2017 and when Williams filed this motion

in May 2018 negates any assertion of due diligence. Further, prior to February 2017, he had the

wherewithal to retain counsel and file a § 3582 motion and an appeal, again suggesting that if he

exercised due diligence, he would have filed a § 2255 motion sooner. Moreover, Williams

simply does not have a basis for filing a § 2255 motion at this juncture, when he no longer has a

Constitutional right to counsel, the Court had the jurisdiction to impose the sentence it imposed,

which did not exceed the maximum authorized by law, and the sentence is not otherwise subject

to collateral attack because Williams failed to raise this issue on direct appeal and has not shown

cause for that failure. Consequently, I have no alternative than to reach a result that is unfair,

and deny Williams’s motion.

                                          Background

       In 1990, a federal grand jury indicted Williams and twenty-two others on a variety of

charges for their roles in a large-scale Baltimore-area drug and money laundering operation.

Def.’s Mot. 3-4. On March 20, 1991, a jury convicted Williams of four drug charges and money

laundering. Id. at 4. At Williams’s sentencing on January 13, 1992, the Court elevated his

calculated offense level from 41 to 42, concluding that Williams was not just a “manager,” but




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an “organizer and leader” of the illicit operation run by Williams’s uncle. Id. The Guidelines

range for offense level 42 with a criminal history Category I (where Williams fell) was 360

months to life imprisonment. Id. The Court imposed a within-Guidelines sentence of 600

months imprisonment. Id. In 2008, Williams filed a § 3582 motion, ECF No. 1192, which the

Court denied, ECF No. 1195. In 2010, Williams filed another § 3582 motion, ECF No. 1205,

and a motion pursuant to 28 U.S.C. § 2255, which the Court construed as a third § 3582 motion,

ECF No. 1206. The Court denied both motions and Williams’s motion for reconsideration, ECF

Nos. 1207, 1208, 1209, and the Fourth Circuit affirmed, ECF No. 1221.

       In 2014, the U.S. Sentencing Commission passed Amendment 782, which retroactively

reduced drug quantity offense levels by two.        U.S.S.G. Manual § 1B1.10 cmt. n.6 (U.S.

Sentencing Comm’n 2018). Williams hired counsel to seek a sentence reduction. Def.’s Mot. 5.

The Federal Public Defender’s Office (FPDO), which had established a process by which it

would coordinate with the United States Attorney’s Office to recommend sentence reductions

under 18 U.S.C. § 3582(c)(2),2 id. at 6, informed Defense counsel that the process was already

underway for numerous federal prisoners in conjunction with the Government. Dec. 17, 2014

FPDO Ltr. to Williams, ECF No. 1268-2.

       The FPDO sought corrected sentences that mirrored the original sentences’ position

within (or beyond) the original guidelines. Def.’s Mot. 6. However, when the FPDO examined

Williams’s case, they incorrectly determined that offense level 41 was the original offense level

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  “In the case of a defendant who has been sentenced to a term of imprisonment based on a
sentencing range that has subsequently been lowered by the Sentencing Commission pursuant to
28 U.S.C. 994(o), upon motion of the defendant or the Director of the Bureau of Prisons, or on
its own motion, the court may reduce the term of imprisonment, after considering the factors set
forth in section 3553(a) to the extent that they are applicable, if such a reduction is consistent
with the applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.
3582(c)(2) (2018).



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(instead of offense level 42, as Court found) and, as a result, interpreted Williams’s original 600-

month sentence as having been well above the Guidelines range of 324 to 405 months

recommended for offense level 41, rather than within the Guidelines range of 365 months to life

that actually applied in 1992. Kurtz Aff., ECF No. 1268-5. The FPDO applied the two-level

reduction to offense level 41 (instead of 42); the Guidelines range for offense level 39 was 262 to

327 months. Calculating that 600 months was 148% of the high end of offense level 41, the

FPDO recommended a proportional reduced sentence of 484 months (148% of the high end of

offense level 39). Id. Had the FPDO correctly understood Williams’s original sentence to be

within the Guidelines range for offense level 42, they could have sought a reduced sentence

within the Guidelines range for offense level 40 (272 to 365 months).       Id.; Mirchandani Aff.,

ECF No. 1268-6.

       The FPDO reached an agreement with the Government (without involving Williams) and

filed a Consent Motion Seeking Reduced Sentences Under 18 U.S.C. § 3582(c)(2) on June 12,

2015. ECF No. 1269-2. The same day, Williams learned of the consent motion from his attorney

via email and notified his attorney that there had been a mistake in the calculations. June 12,

2015 Williams Email to Counsel, ECF No. 1269-3. On June 17, 2015, the Court granted the

consent motion and reduced Williams’s sentence from 600 months to 484 months.                 Order

Reducing Sentence, ECF No. 1231. Williams was notified on June 23, 2015. June 23, 2015

FPDO Ltr. to Williams, ECF No. 1268-4.

       On August 4, 2015, the FPDO contacted the Government, acknowledged the error and

sought consent to reduce the sentence further, insisting that had it not erred, it would have

requested a sentence within the correct amended Guidelines range, not above it. Kurtz Aff.;

Mirchandani Aff. The Government did not disagree that the FPDO erred.               Gov Opp’n 4.




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Nonetheless, it stated that it would not have agreed to a reduction to 365 months and that, even

using the correct offense level, it still would have arrived at 484 months by calculating the

proportion over the low end of the Guidelines range (600 months as 167% of the low end of

offense level 42, and 484 months as 167% of the low end of offense level 40). Aug. 4, 2015

Gov’t Email to FPDO, ECF No. 1269-4. Williams also asserts that he would have rejected an

above-range modified sentence and proceeded to a contested sentencing hearing. Williams Aff.,

ECF No. 1268-1.

       As noted, Williams, through retained counsel, attempted to have the Court correct the

error. First, on December 15, 2015, he filed a Motion for Leave to File Untimely Notice of

Appeal, ECF No. 1235, which the Court granted on February 3, 2016, ECF No. 1236, and a

Motion to Correct Order Granting Sentence Reduction, ECF No. 1234, which the Court denied

on June 3, 2016, ECF No. 1245. Williams appealed on June 17, 2016. ECF No. 1247. On

February 9, 2017, the Fourth Circuit affirmed both the Court’s Order Reducing Sentence and its

denial of Williams’s subsequent Motion to Correct Order Granting Sentence Reduction. ECF No.

1252. On August 14, 2017, this Court appointed counsel for Williams under the Criminal Justice

Act, 18 U.S.C. § 3006A(a)(2)(B), ECF No. 1258, and he filed the pending Motion to Vacate,

Correct, or Reduce Sentence “pursuant to 28 U.S.C. § 2255, Federal Rule of Civil Procedure

60(b), or any other applicable statute or rule” on May 4, 2018. Def.’s Mot. 1.

                                           Discussion

       Williams argues that he has three procedural grounds for relief: (1) pursuant to 18 U.S.C.

§ 2255; (2) pursuant to Fed R. Civ. P. 60(b)(6); and (3) under the principles of contract law,

Def.’s Mot. 11-13, and he also seeks leave to file another § 3582 motion, id. at 16.




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                                         § 2255 Motion

       28 U.S.C. § 2255 permits a prisoner to file a motion to vacate, set aside, or correct a

sentence on the grounds that the sentence was

       imposed in violation of the Constitution or laws of the United States, or that the
       court was without jurisdiction to impose such sentence, or that the sentence was in
       excess of the maximum authorized by law, or is otherwise subject to collateral
       attack.

28 U.S.C. § 2255(a). The prisoner must prove his case by a preponderance of the evidence.

Brown v. United States, Civil No. DKC-10-2569 & Crim. No. DKC-08-529, 2013 WL 4562276,

at *5 (D. Md. Aug. 27, 2013). If the court finds for the prisoner, “the court shall vacate and set

the judgment aside and shall discharge the prisoner or resentence him or grant a new trial or

correct the sentence as may appear appropriate.” 28 U.S.C. § 2255(b).

   1. Jurisdiction

       Williams filed a motion pursuant to § 2255 in 1997. See United States v. Williams, 139

F.3d 896 (4th Cir. 1998). Of course, the issues are different now, as Williams challenges his

2015 reduced sentence, not his original sentence from 1992. Nonetheless, a successive § 2255

motion requires a certificate of appealability from the appropriate Court of Appeals before

proceeding. 28 U.S.C. § 2255(h). Without certification, this Court lacks jurisdiction to decide

the motion. See United States v. Winestock, 340 F.3d 200, 205 (4th Cir. 2004). Consequently, as

a § 2255 motion, his Motion must be denied for this reason alone. See id.

   2. Statute of limitations

       Federal prisoners have a one-year period of limitation within which to file a timely §

2255 motion. 28 U.S.C. § 2255(f). The period of limitation runs from the latest of:

       (1)     the date on which the judgment of conviction becomes final;


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       (2)   the date on which the impediment to making a motion created by
       governmental action in violation of the Constitution or laws of the United States
       is removed, if the movant was prevented from making a motion by such
       governmental action;
       (3)    the date on which the right asserted was initially recognized by the
       Supreme Court, if that right has been newly recognized by the Supreme Court and
       made retroactively applicable to cases on collateral review; or
       (4)    the date on which the facts supporting the claim or claims presented could
       have been discovered through the exercise of due diligence

Id. The one-year period of limitations for § 2255 motions is calculated using Fed. R. Civ. P.

6(a)(1), excluding the date of the act or event that triggers the beginning of the limitations period.

Hernandez v. Caldwell, 225 F.3d 435, 436 (4th Cir. 2000).

         Williams was notified of the Order Reducing Sentence, which provided the basis for the

facts supporting his pending claim, on June 23, 2015. June 23, 2015 FPDO Ltr. to Williams.

This is the latest date from which the limitations period could run. See 28 U.S.C. § 2255(f). But

he did not file his Motion until May 4, 2018, almost three years later and well beyond the statute

of limitations.   See 28 U.S.C. § 2255(f)(4).      Thus, the Motion was untimely and must be

dismissed unless principles of equitable tolling apply. See Holland v. Florida, 560 U.S. 631,

649–54 (2010); Rouse v. Lee, 339 F.3d 238, 246–47 (4th Cir. 2003) (en banc). “[T]o be entitled

to equitable tolling, an otherwise time-barred petitioner must present (1) extraordinary

circumstances, (2) beyond his control or external to his own conduct, (3) that prevented him

from filing on time.” United States v. Sosa, 364 F.3d 507, 512 (4th Cir. 2004) (internal quotation

marks omitted); Holland, 560 U.S. at 649–54. A petitioner is entitled to equitable tolling if he

demonstrates that he has been pursuing his rights diligently and an extraordinary circumstance

stood in his way and prevented timely filing. Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005).

       The circumstances surrounding the Federal Public Defender’s involvement and error

regarding Williams’s original offense level certainly are unusual, and Williams has shown that


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he attempted, without success, to work through retained counsel and to correct the error

promptly. He also diligently filed a second § 3582 motion and an appeal, also without success.

His flurry of activity concluded with his June 17, 2016 filing of an appeal, however; after the

Fourth Circuit’s February 9, 2017 ruling, Williams did not file anything until the pending Motion

on May 4, 2018. Significantly, when this Court denied Williams’s second § 3582 on June 3,

2016, before the limitations period had run and before Williams had filed his appeal, it alerted

Williams that if he “want[ed] to challenge the representation afforded to him by the Office of the

Federal Public Defender, he should file an appropriate motion under 28 U.S.C. § 2255.” June 3,

2016 Order. Williams does not provide any adequate explanation for the almost two years that

passed between the expiration of the limitations period and the filing of the § 2255 Motion.

Insofar as the Fourth Circuit’s consideration of his appeal justifies some of his delay, he still has

not shown that he acted with diligence, or that any circumstances beyond his control prevented

him from action, during the fifteen months following the Fourth Circuit ruling and when he filed

his Motion. Accordingly, the Motion must be dismissed as time-barred. See Sosa, 364 F.3d at

512; Holland, 560 U.S. at 649–54.

   3. Basis for relief

       Unfortunately for Williams, even if the § 2255 Motion were timely or equitable tolling

permitted the Court to consider it, he simply cannot obtain relief pursuant to § 2255 at this

juncture. As noted, a defendant may file a § 2255 motion asking the court to vacate or correct

his sentence under four circumstances. 28 U.S.C. § 2255(a). First, he can assert that the

sentence was “imposed in violation of the Constitution or laws of the United States.” Id. Often,

defendants file § 2255 motions based on ineffective assistance of counsel, in violation of their

Sixth Amendment rights. But here, Williams challenges the process by which his sentence was



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reduced, rather than when it initially was imposed, which occurred at a time during which he did

not have a constitutional right to counsel. See United States v. Legree, 205 F.3d 724, 730 (4th

Cir. 2000) (observing that “[i]t is well settled that ‘a criminal defendant has no right to counsel

beyond his first appeal,’” and that, even “[t]hough in some exceptional cases due process does

mandate the appointment of counsel for certain postconviction proceedings, [a] motion for

reduction of sentence does not fit into this category” (quoting Coleman v. Thompson, 501 U.S.

722, 756 (1991); internal citation omitted). And, Williams has not identified any other violation

of the Constitution or federal law.

       Second, he can argue that “the court was without jurisdiction to impose such sentence,”

and third, he can argue that “the sentence was in excess of the maximum authorized by law.” 28

U.S.C. § 2255(a). But neither is the case here.

       Fourth, a defendant may contend that his sentence “is otherwise subject to collateral

attack.” 28 U.S.C. § 2255(a). To launch a collateral attack on his sentence, “the movant must

establish (1) an error of constitutional magnitude; (2) a sentence imposed outside the statutory

limits; or (3) an error of fact or law so fundamental as to render the entire proceeding invalid.”

Jha v. United States, No. ELH-12-00595, 2019 WL 957124, at *5 (D. Md. Feb. 27, 2019) (citing

Moss v. United States, 323 F.3d 445, 454 (6th Cir. 2003)). As noted, the first two categories do

not apply here. As for the error of fact, Williams asserts that the Public Defender misrepresented

that his original offense level was 41, which caused his reduced sentence to be calculated based

on the misperception that his original sentence was considerably above the Guidelines range.

Significantly, Williams did not raise this issue on direct appeal. See App. Br., 2016 WL

4926497, at *14–16 (arguing, inter alia, that this Court lacked “the authority to reduce

Williams’s sentence to an amount outside the amended guideline range” and that the



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recommended sentence reduction was presented as a “stipulated reduction” when in fact “he had

never agreed to it,” but not that the sentence reduction was based on a misunderstanding of the

original sentence relative to the original offense level); see also United States v. Williams, 676 F.

App’x 185, 185 (4th Cir. 2017) (“On appeal, Williams argues that the district court may not

impose a sentence above an amended Guidelines range in a § 3582(c)(2) proceeding; the

procedure adopted by the court to adjudicate sentence reductions following Amendment 782 to

the Guidelines violated his right to due process of the law; the district court’s failure to notify

him of its intention to impose a sentence above the amended Guidelines range was error; and the

court failed to properly consider his motion for reconsideration.”).

       A prisoner cannot raise a new issue that he did not object to at trial or raise on direct

appeal absent “(1) ‘cause’ excusing his double procedural default, and (2) ‘actual prejudice’

resulting from the errors of which he complains.” United States v. Frady, 456 U.S. 152, 167

(1982). To show cause for not presenting the issue on appeal, Williams “must prove that ‘some

objective factor external to the defense such as the novelty of the claim or a denial of effective

assistance of counsel’ impeded counsel’s efforts to raise the issue earlier.” Jha, 2019 WL

957124, at *6 (quoting Coleman v. Thompson, 501 U.S. 722, 753 (1991)). Regardless whether

actual prejudice exists, Williams cannot show cause the excuse his failure to raise the issue on

direct appeal. Indeed, he alluded to the issue in the Motion for Leave to File Untimely Appeal

that he filed in this Court. See Mot. for Leave to File Untimely Notice of Appeal 6, 9–10

(discussing error). A “collateral challenge may not do service for an appeal.” Jha, 2019 WL

957124, at *5 (quoting Foster v. Chatman, ––– U.S. ––––, 136 S. Ct. 1737, 1758 (2016)).

Therefore, Williams cannot present this claim through a § 2255 motion. See Frady, 456 U.S. at

167; Jha, 2019 WL 957124, at *5.



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                             Rule 60(b) or Successive § 3582 Motion

       Rule 60(b) states that “[o]n motion and just terms, the court may relieve a party or its

legal representative from a final judgment, order, or proceeding for the following reasons . . . (1)

mistake, inadvertence, surprise, or excusable neglect; . . . (6) any other reason that justifies

relief.” Fed. R. Civ. P. 60(b). Generally, the Federal Rules of Civil Procedure do not apply to

criminal proceedings. Fed. R. Civ. P. 1. It is true that, since habeas suits are brought as civil

actions, the Federal Rules of Civil Procedure do apply to habeas motions “to the extent that they

are not inconsistent with the Habeas Corpus Rules.” Woodford v. Garceau, 538 U.S. 202, 208

(2003). Yet, although § 2255 habeas motions are civil in nature, § 3582(c)(2) motions are not.

United States v. Miller, 137 F. App’x 457, 458 (4th Cir. 2004). Rule 60(b) therefore is an

inappropriate means of relief from a § 3582 order. See United States v. May, 855 F.3d 271, 274

(4th Cir. 2017) (noting that the Fourth Circuit has “prohibited 18 U.S.C. § 3582(c)(2)-based

motions for reconsideration, United States v. Goodwyn, 596 F.3d 233, 234 (4th Cir. 2010),” but

“this prohibition [is] non-jurisdictional, and thus waived when the government failed to assert it

below”), cert. denied, 138 S. Ct. 252 (2017); Goodwyn, 596 F.3d at 235 n* (“Of course, the

Federal Rules of Civil Procedure do not apply to motions under § 3582. This is so because §

3582 motions—which seek only to alter terms of imprisonment—are criminal in nature.”).

       Williams argues that United States v. Winestock establishes that “a motion seeking a

remedy for some defect in the collateral review process will generally be deemed a proper [Rule

60(b)] motion to reconsider.” Def.’s Mot. 12 n.7 (quoting United States v. Winestock, 340 F.3d

200, 207 (4th Cir. 2004)). As he sees it, “a Rule 60 motion is a proper vehicle for challenging a

judgment arising from a § 3582 proceeding” because

       [i]n 2011, the United States Supreme Court defined collateral review as “a
       judicial reexamination of a judgment or claim in a proceeding outside of the direct



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       review process,” and noted that a motion to reduce sentence under the former
       version of Rule 35 of the Federal Rules of Criminal Procedure was a form of
       collateral review. Wall v. Kholi, 562 U.S. 545, 553-55 (2011).

Id.

        But, what Winestock held is that, “depend[ing] on the nature of the claims presented,” a

Rule 60(b) motion filed following a § 2255 motion in a criminal case may be a successive § 2255

motion, rather than a proper motion for reconsideration. Winestock, 340 F.3d at 206–07. And,

the Winestock Court addressed “how to distinguish a proper Rule 60(b) motion from a

‘successive [§ 2255] [application] in 60(b)’s clothing.”    Id. at 207 (second emendation in

Winestock). It did not discuss reconsideration of § 3582 motions. See generally id. Wall

likewise did not discuss § 3582 motions; it considered whether a motion to reduce sentence

pursuant to Rhode Island Rule of Criminal Procedure, which “is much like the version of Federal

Rule of Criminal Procedure 35 that was in force prior to the enactment of the federal Sentencing

Reform Act of 1984 and the promulgation of the Federal Sentencing Guidelines,” is “an

application for ‘collateral review’” such that the AEDPA tolling provisions apply. Wall, 562

U.S. at 553-54.

       Moreover, the Fourth Circuit decided Goodwyn after Winestock, which makes it clear that

Goodwyn is the controlling authority, and Winestock’s analysis does not apply to § 3582

motions. And it decided May after the Supreme Court decided Wall, thereby clarifying that Wall

did not affect Goodwyn’s statement that “the Federal Rules of Civil Procedure do not apply to

motions under § 3582.” 596 F.3d at 235 n*. The May Court held that “the rule is the same for

both purely successive § 3582(c)(2) motions and § 3582(c)(2)-based motions for reconsideration:

A defendant cannot obtain relief on the basis of such motions, but this prohibition is non-

jurisdictional and thus subject to waiver.” May, 855 F.3d at 275. The Government could have,

in the interest of justice, waived its objection to Williams’s motion as a Rule 60(b) motion for


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reconsideration of the Order Reducing Sentence pursuant to § 3582, but it did not. See Gov’t

Opp’n 7–10. Therefore, Williams does not have grounds for Rule 60(b) relief from the Court’s

ruling on his previous § 3582 motion, and he cannot file a successive § 3582 motion. See May,

855 F.3d at 274–75; Goodwyn, 596 F.3d at 235 n*. Insofar as he asks the Court to grant him

leave to file a successive § 3582 motion, he has not identified any authority under which the

Court could do so or could grant such a motion. Indeed, even though § 3582(c)(2) permits the

Court to act “on its own motion,” the Fourth Circuit has concluded that neither § 3582(c)(2) nor

any other provisions “permit[] [a] district court to reduce [a] sentence a second time almost eight

months after the first reduction,” or in this case, much later. Goodwyn, 596 F.3d at 235.

                                          Contract Law

       Relief based on the principles of contract law is also not appropriate here. The Fourth

Circuit has described plea agreements as “essentially a contract . . . whose interpretation is

‘rooted in contract law.’” United States v. Lewis, 633 F.3d 262, 269 (4th Cir. 2011) (quoting

United States v. Dawson, 587 F.3d 640, 645 (4th Cir. 2009)). Yet, there is no precedent to show

that the process by which recommended sentence reductions are arranged following U.S.S.G.

amendments pursuant to § 3582(c)(2) are contracts. Indeed, even if the parties reached an

agreement to recommend a sentence, the Court is not a party to that agreement and not bound to

it, and it is of course the Court that imposes the sentence.        The Government effectively

distinguished § 3852(c)(2) sentence reductions from plea agreements, and I incorporate its

analysis by reference. See Gov’t Opp’n 10-11.

                                           Conclusion

       In summary, this Court is left with a decidedly unsatisfying result that is compelled by

law. It is undeniable that Williams has valid concerns over the execution of his sentence




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reduction process. Yet, he failed to raise his concerns on appeal, failed to obtain leave to file a

successive § 2255 motion, and has not justified either his failure to raise the issue on appeal or

his delay in filing this Motion. Accordingly, Williams’s Motion is denied.

                                  Certificate of Appealability

       Rule 11(a) of the Rules Governing Proceedings under 28 U.S.C. §§ 2254 or 2255

provides that the court must “issue or deny a certificate of appealability when it enters a final

order adverse to the petitioner.” Brown v. United States, Civil No. DKC-10-256, Crim. No.

DKC-08-529, 2013 WL 4562276, at *10 (D. Md. Aug. 27, 2013).                  This certificate “is a

‘jurisdictional prerequisite’ to an appeal from the court’s order” that “may issue ‘only if the

applicant has made a substantial showing of the denial of a constitutional right.’” Id. (quoting

28 U.S.C. § 2253(c)(2) and citing United States v. Hadden, 475 F.3d 652, 659 (4th Cir. 2007)).

Here, Williams has made a substantial showing on the merits that the § 3582(c)(2) order

reducing his sentence was executed incorrectly, and the Court will issue a certificate of

appealability.

                                            ORDER

       For the reasons stated above, it is, this 28th day of June, 2019, hereby ORDERED that

       1. Defendant’s § 2255 Motion, ECF No. 1268, IS DENIED; and

       2. The Clerk is directed to file a copy of this Memorandum Opinion and Order in

           Criminal No. PWG-90-135 and Civil Action No. PWG-18-1344, to MAIL a copy of

           it to Defendant and the Government; and

       3. The Clerk SHALL CLOSE Civil Action No. PWG-18-1344.

                                                                   /S/
                                                            Paul W. Grimm
                                                            United States District Judge
jpl


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